## PETITION FOR REHEARING EN BANC



**Case Name:** Justin Riddle v. Omaha Public Schools



**Case No.:** 24-1940



In the interests of procedures that I am held to beyond the usual, I am submitting

this intro as required.



The real content, which I suggest you actually review this time, is attached.



The receipts and the cold naked reality of a system that has betrayed its most

fundamental responsibilities are attached and have been published on YouTube for

an increasingly growing army of individuals who demand equal treatment and

equal justice, something this Court has wholly failed, repeatedly and with malice.



To assume dozens of the most qualified individuals in a variety of industries could

all fall subject to an error can not resolve with the fact that they haven't corrected

it. The evidence has never been contested. All that is left is to see whether Lady

Justice will stand tall in the very uncomfortable situation, or shed her robe and

blindfold, find the nearest corner in the red light district, and service the highest

bidders.




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The world is now watching (as seen in my YouTube analytics below), you have

already sparked the interest and scrutiny of all those who care about a fair and just

society. Govern yourselves accordingly. Most of the quarter million impressions are

from since the public saw your dismissive abdication of your duties.




Pursuant to Federal Rule of Appellate Procedure 35, Appellant Justin Riddle

respectfully petitions for rehearing en banc. This petition is warranted due to the

panel's disregard for critical evidence, misapplication of legal standards, and failure

to address questions of exceptional importance with profound implications for

constitutional rights and democratic principles.



**Grounds for Rehearing En Banc:**



**1. Conflict with Precedent and Exceptional National Importance:**




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The panel's decision conflicts with established precedent of the United States

Supreme Court and this Court on matters of exceptional national importance,

including:



**(a) Pleading Standard for Pro Se Litigants:** The panel subjected Mr. Riddle's pro

se complaint to an improperly stringent pleading standard, disregarding the

well-established principle of liberal construction for pro se filings. *See Erickson v.

Pardus, 551 U.S. 89, 94 (2007); Johnson v. Arden, 614 F.3d 785, 799 (8th Cir. 2010)*.

This heightened scrutiny effectively denied Mr. Riddle access to discovery and a fair

opportunity to present his claims.



**(b) Obligation to Consider All Evidence:** The panel inexplicably ignored a

crucial piece of evidence—a recorded phone call with Lieutenant Charles Ott, head

of Omaha Public Schools (OPS) school resource officers. This call directly

contradicts OPS's claims of no coordination with law enforcement and reveals

potential First Amendment violations. The panel's failure to address this evidence,

despite its extensive quotation in the record and Mr. Riddle's arguments, violates

the fundamental principle that courts must consider the entire record. *See Tolan v.

Cotton, 572 U.S. 650, 659 (2014); Johnson v. City of Shorewood, 360 F.3d 810, 817

(8th Cir. 2004)*.




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**(c) Remedy for False Court Records:** The panel allowed demonstrably false

statements in the district court record to stand uncorrected, enabling defamation

and undermining public trust in the judicial process. This inaction conflicts with the

Supreme Court's recognition that "there is no constitutional value in false

statements of fact." *Gertz v. Robert Welch, Inc., 418 U.S. 323, 340 (1974)*.



**(d) Judiciary's Duty to Check Abuses of Power:** The panel, confronted with

evidence of a potential multi-agency cover-up, abdicated its core Article III duty to

uphold citizens' rights and check abuses of power. This inaction ignores the

fundamental principle that the judiciary serves as a bulwark against government

overreach and a protector of individual liberties. *See Marbury v. Madison, 5 U.S.

137, 163 (1803)*.



**2. Questions of Exceptional Importance Warranting En Banc Review:**



This case presents the following questions of exceptional importance that demand

en banc review:



**(a) Proper Pleading Standard for Pro Se Litigants Alleging Viewpoint

Discrimination:** What is the proper pleading standard for pro se litigants alleging

a pattern of viewpoint discrimination by government entities, particularly in light of

the tension between the liberal construction principle for pro se filings and the




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plausibility pleading standard? *Compare Erickson, 551 U.S. at 94, with Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)*.



**(b) Obligation to Consider Contradictory Evidence:** Does a court have an

obligation to consider and address direct, uncontested evidence that contradicts the

factual basis for its ruling, particularly when that evidence reveals potential

government misconduct and First Amendment violations? *See Scott v. Harris, 550

U.S. 372, 380-81 (2007)*.



**(c) Remedies for False Court Records and Defamation:** What remedies exist to

protect citizens' reputational rights when a court record is weaponized to spread

falsehoods with legal imprimatur? *Cf. Briscoe v. LaHue, 460 U.S. 325, 334 (1983)*.



**(d) Relief for Multi-Agency Constitutional Violations:** How can citizens obtain

meaningful relief when constitutional violations span multiple agencies and all

levels of administrative appeal, particularly when evidence suggests a potential

cover-up or abdication of statutory responsibilities? *See Heckler v. Chaney, 470

U.S. 821, 839 (1985) (Brennan, J., concurring)*.



**Necessity of En Banc Review:**



En banc review is urgently needed to:




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* **Maintain Uniformity:** Ensure consistency in Eighth Circuit decisions

regarding pleading standards, evidentiary considerations, and the judiciary's role in

protecting constitutional rights.

* **Correct Erroneous Application of the Law:** Address the panel's misapplication

of legal standards and its failure to consider crucial evidence, preventing a

dangerous precedent that undermines judicial fairness and accountability.

* **Protect Constitutional Rights and Democratic Principles:** Reaffirm the

importance of free speech, public participation, and the judiciary's role in checking

government overreach.

* **Restore Public Trust:** Address the erosion of public trust in the judicial system

caused by the panel's disregard for evidence and its failure to address serious

allegations of government misconduct.



**Conclusion:**



The panel's decision, if left undisturbed, threatens to eviscerate the rights of

unrepresented parties, insulate government misconduct from scrutiny, and

undermine the foundation of rule of law upon which our democracy depends.



Accordingly, Mr. Riddle respectfully requests that this petition for rehearing en banc

be granted, the panel's judgment be reversed, and this case be remanded for further




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proceedings consistent with established precedent and constitutional principles. The

integrity of our judicial system and the preservation of our democratic values

demand nothing less.



**Respectfully submitted,**



Justin Riddle, Pro Se Appellant



**Date:** September 8, 2024




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INTRODUCTION



Nothing more to lose



For nearly a decade, I have been on a tireless quest for justice, a one-man crusade

against the corrupt and powerful forces that have sought to silence me and bury the

truth at every turn. Now, as this odyssey reaches its climactic moment, the very

institutions that have failed me so utterly must face a reckoning long overdue.



This is not just the story of my personal struggle against impossible odds. It is an

indictment of a system that has lost its way, a clarion call for reform and

accountability in a legal landscape that has become a breeding ground for

misconduct and malfeasance at the highest levels.



At every stage of this journey, I have been met with obstruction, intimidation, and

outright deceit from those entrusted with upholding the very laws they have sworn

to defend. From local school boards to federal appellate courts, I have witnessed

firsthand the depths of institutional corruption and the lengths to which the

powerful will go to protect their own.



But through it all, I have persevered, armed with nothing but the strength of my

convictions and an unshakable commitment to the truth. I have painstakingly




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documented every abuse, every violation, every lie, building a record of wrongdoing

so extensive and so damning that it can no longer be ignored or wished away.



And now, with this filing, I bring that evidence before this Court, a trap five years in

the making, not as a supplicant begging for favors, but as a citizen demanding his

due and an advocate insisting on accountability. I come bearing the receipts of years

of institutional failures and cover-ups, and with a single, unassailable truth: that

unless and until this Court rises to meet the challenge I have laid before it, there

can be no true justice, no genuine rule of law in this land. I come with the

satisfaction of knowing that I gave every single party countless opportunities to

Simply do the right thing. It was only by every single party taking the wrong of two

choices that I laid in every situation, that has brought us to this trap that cannot be

escaped. This moment is no mere accident, no magical stroke of Fortune on my part,

but a calculated , meticulously planned trap with a long-term goal for accountability

and reform. Only by every single party doing the precise wrong thing at every

avenue, was I able to expose the rot of the system in such a way that can never be

disputed. It would have only taken one person out of dozens in any of these

situations to Simply acknowledge the evidence and truth, and stop the madness.



Instead, what we have now, is nothing short of the ultimate face off between the

most powerful institutions in the country, and the truth. The emperors are walking

proudly and richly down the street in their new clothes, but what follows is one




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honest child of the nation, pointing out the nakedness that everyone else is

ignoring.



THE BANK FRAUD: A CASE STUDY IN UNCHECKED CORRUPTION



At the heart of this saga lies a simple but devastating document: a crudely altered

loan agreement that exposes the lengths to which financial institutions will go to

deceive and defraud those they claim to serve.



When I uncovered clear evidence that CharterWest Bank had knowingly and

willfully altered a key financial instrument, changing the box marked "child support

obligations" from "no" to "yes", I never could have imagined that this single act of

fraud would unleash a torrent of attacks on my character that would persist for half

a decade.




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By falsely indicating that I was past due on child support, the bank's actions didn't

just deny me a loan; they painted me as a deadbeat father, a man who shirks his

responsibilities to his children. This lie, once entered into the system, took on a life

of its own, spreading through online forums and social media, becoming a

permanent stain on my digital footprint.



When I brought this clear evidence of criminal misconduct to the authorities tasked

with policing such abuses, I was met with a wall of indifference and inaction. From

the courts to the regulatory agencies to the offices of attorneys general, not a single




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institution proved willing to stand up to the bank or to hold it accountable for its

misdeeds.



Instead, they circled the wagons, shirking their responsibilities and turning a blind

eye to the rot that had taken hold in their midst. They hid behind technicalities and

procedural niceties, inventing ever more creative ways to avoid confronting the

uncomfortable truths that I had laid before them.



As a result, I have suffered highly abusive character attacks for the last five years.

Below are just a sampling of the hundreds, possibly thousands of attacks.



As you can see, people online (typically, but not always, anonymous) use the very lie

published by CharterWest, which the lower court dismissed without a hearing, and

was upheld by the 8th Circuit. This is the very real very quantifiable damage of a

Court system more interested in appearances and the wealthy than blind justice

and the rule of law.




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This is not just a failure of justice in one man's case. It is a symptom of a much

deeper sickness, a cancer that has metastasized through our legal and financial

systems and threatened the very foundations of our democracy. When banks can lie

and cheat with impunity, when regulators can look the other way in the face of clear

criminality, when courts can rubber-stamp the misconduct of the powerful and leave

the vulnerable without recourse, then the rule of law itself becomes a hollow

mockery, a cruel joke perpetrated on those it purports to serve.



This was not a complicated, subjective, hard to determine issue. Quite to the

contrary, it was a document with the checkbox (that was selected under penalty of

perjury by my wife and I) that after the bank knew we were transferring our

business to a different lender, was crossed out, the other box checked, an “X” and a

line for us to sign, but no signature exists, because it was false, and purely designed

to harm us. The bank never showed us or asked for a signature, because they knew

that my daughter had lived with us for eight years, and it was specifically exempted

in that same paperwork. The bank was fully aware that my ex wife was incapable of

paying child support, and I had never bothered to modify it, instead, covering all of

the costs myself and her writing off the balance quarterly.




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The sordid nature of this claim, like what will follow with the Attorney General's

office, can be explained as false within the single document in question.




Somehow, the Department of Banking and Finance, the Federal Reserve of KC, The

CFPB, the Nebraska Attorney General's Office, the Nebraska Ombudsman's Office,

the lower court, twice, and the Eighth Circuit Court of Appeals, all managed to

agree that there's no problem with a bank altering a mortgage application without

the knowledge of the consumer.



To the folks reading at home, this means that if a bank cheats, lies or steals, as long

as they are a friend of the Court, it will be allowed to stand.



THE SHAM INVESTIGATION: AN INDICTMENT OF INSTITUTIONAL

CAPTURE



If the CharterWest case exposed the depths of unchecked fraud and corruption in

our financial system, the Nebraska Attorney General's so-called "investigation" of




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Omaha Public Schools reveals the even more insidious rot at the heart of our

institutions of governance and oversight.



Faced with clear evidence of open meetings violations and abuses of power by OPS

officials, the Attorney General's office had a duty to conduct a thorough, impartial

inquiry and to follow the facts wherever they led. Instead, it staged a sham process

that made a mockery of the very concept of independent oversight, and that

functioned as little more than a whitewash of the district's misconduct.



The AG's office conducted its entire investigation without ever notifying or seeking

input from me or my mother, the very individuals whose rights had been violated in

the first place. It accepted at face value the district's version of events, even when

that account was directly contradicted by video evidence and other unassailable

proof.



Worse still, when it became clear that this so-called "investigation" had failed to

uncover the truth, the AG's office doubled down on the cover-up, issuing a report

riddled with falsehoods and misrepresentations that sought to paint me and my

mother as the true villains of the piece.




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As you can see circled below on top, the Attorney General states that Ms. Adamson

was asked for her address but after declining, was allowed to proceed for

approximately one minute.




As you can see in the same page of this Attorney General's advisory opinion, the

lower circled content states that Ms. Adamson was not removed from the podium

based on content, but because she failed to provide her address. Now, also in this

attorney general investigation, they clearly indicate that they spoke with the

defense and their, as well as they watched the video.




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The following eight second transcript is all that the Attorney General would have

needed to see, to understand that the address requirement was waived.




This was not an oversight or a good-faith error. It was a willful, calculated effort to

bury the truth, to shield powerful institutional actors from accountability, and to

make an example of those who would dare to challenge the official narrative. Not

only was I not asked for my side as the alleged victim, the information was hidden

away and when I found it earlier this year after the initial filing with the 8th

circuit, I proceeded through Freedom of Information requests and visits to the

Attorney General's office and the ombudsman's office, to get the false information




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that was published by the Nebraska Attorney General about us, corrected to reflect

the truth.



As a new attorney general from the administration that had published the false

information, it seemed logical that they would simply acknowledge the mistake,

correct it, and move on. Instead, What followed has been nothing short of a manic

effort to hide and suppress the truth.



When I filed the lawsuit against Omaha Public Schools this year, I was still

unaware of this attorney general investigation that for all practical purposes, if it

were true, Omaha Public Schools should have used in response to my lawsuit

regarding the very same issue. It's only because they knew that they had

collectively worked together to construct a lie that if discovered, would prove my

point, that they chose not to use what can only be considered a silver bullet in the

form of a full exoneration by the Nebraska Attorney General's office, about the very

item I've accused them of. This means that for two years, this lie remained

published without even the knowledge of myself or my mother, and knowing how it

was created on a foundation of sand, the party's involved did everything they could

not to include it in the lawsuit. Not withstanding the damning indictment that

becomes of its own, it's also evidence of the school district suppressing relevant

information from the courts.




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Initially, I was told that they did an investigation but I could not see how they came

to the conclusion. Subsequently, through error by Omaha Public Schools, I have

received the original correspondence from David Kramer to the attorney general's

office. As you can see below, David Kramer makes the same false claim that the

address was the reason for the silencing.



“ it was for that reason, and that reason alone”




It should not be understated, that this was in response to multiple community

complaints, including the one below that shows that a concerned member of the

community saw that they shut the microphone off after the recording began. This

simply cannot resolve with the answer given by creamer and accepted by the

attorney general. Both things cannot be true.




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More disturbingly, the Attorney General, while never getting my side or my mom's

side, waited 2 months before reminding David Kramer that they still hadn't

received a response. Equally troubling is the fact that it's clear they spoke on the

phone and had multiple communications, while completely hiding the situation

from my mother and I.




And finally, and perhaps the most Brazen and galling display of authority abuse I've

ever witnessed, the Attorney General refused to let my mother and I through




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Freedom of Information requests see any of the information that they used citing

security and investigative concerns, when in reality according to the information in

their own emails and their report, they simply spoke with the district and watched

the video. There is absolutely no indication of anything secure or private that

should have been hidden, but now we've discovered the lie. Now we know why they

hid it. They went to great lengths to hide it, up to and including Trespassing me and

telling my mother she couldn't come in person to file her complaint and ask for the

resolution.



Keep in mind that a freedom of information request about an open meeting is the

fundamental Baseline of what a freedom of information request should contain.

There is nothing private or secretive about a public meeting, yet when lying, they

can certainly make it seem however they want.




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To explain the reason that the distinction is so important, you have to understand

that by pretending that it was related to an address requirement, the school district

has claimed they were following procedure. When it is acknowledged that the real

reason was to silence the speech that she was bringing, it's squarely a constitutional

violation versus a necessary administration of proper practices.



This is not some irrelevant distinction, but a systematic dismantling of the

fundamental bedrock principles this country was founded on. The reason that free




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speech is so important is to prevent abuses like this and so many others from being

hidden from public scrutiny. This is not a partisan issue because it affects all of us

equally. This isn't a civil issue, because this corruption rears its ugly head and

Criminal proceedings as well. This is an issue of right versus wrong and the rule of

law.



THE SYSTEMIC FAILURE OF CHECKS AND BALANCES



The CharterWest fraud and the OPS cover-up are not isolated incidents. They are

part of a much larger pattern, a tapestry of corruption and complicity that

implicates virtually every level of our legal and political systems.



Wherever I have turned in my search for justice and accountability, I have been met

with the same wall of silence, the same closing of ranks, the same refusal to engage

with the facts or to follow the evidence to its logical conclusions.



From the Nebraska Department of Banking and Finance, which turned a blind eye

to CharterWest's misconduct despite clear proof of fraud, to the Omaha Public

Schools Board, which has continued to stonewall and obstruct at every turn, the

institutions that are supposed to serve as checks and balances on abuses of power

have instead become enablers and accomplices to those very abuses.




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Even the courts, the ultimate guardians of our rights and liberties, have proven

unwilling or unable to rise to the challenge. Time and again, they have dismissed

my claims without even bothering to engage with the substance of my arguments or

the mountain of evidence I have presented.



In the CharterWest case, the judge refused to even consider the altered loan

document, instead accepting the bank's transparent lies at face value. In the OPS

matter, the court rubber-stamped the Attorney General's sham investigation,

ignoring the glaring inconsistencies and falsehoods in its report.



And now, in this very appeal, the 8th Circuit has taken that abdication of judicial

responsibility to new and disgraceful heights. With a single, cursory sentence, it

brushed aside years of painstaking legal work and damning documentary proof, as

if the constitutional rights at stake were mere trivialities unworthy of serious

consideration. Already I have been attacked because of the casual indifference of

consumer protection and state agency and judge after judge, for this recent Eighth

Circuit hand-wash.




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This is not just a miscarriage of justice. It is a betrayal of the most basic principles

of our legal system, a dereliction of duty so profound and so systemic that it calls

into question the very legitimacy of the courts as an independent branch of

government.



It's an affirmation of the 8th Circuit Court that no matter how brazen and obvious

the lie, they will allow it to exist despite the very real and existing damage that

comes my way based on that lie.




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THE DANGEROUS PRECEDENTS BEING SET



If left unchecked, the failures and abuses documented in this case will set a series of

dangerous precedents that will undermine the rule of law and the foundations of

our democracy for generations to come.



They will send a clear message that financial institutions can defraud their

customers with impunity, secure in the knowledge that the regulators and the

courts will turn a blind eye to their misconduct.



They will embolden public officials to violate open meetings laws and abuse their

power, confident that any attempts at accountability will be met with a whitewash

investigation and a complicit judiciary.



They will erode public trust in the integrity of our legal system, as citizens come to

understand that the protections of the law do not apply to them, that the deck is

hopelessly stacked in favor of the wealthy and the well-connected.



And they will create a chilling effect on the very notion of dissent and peaceful

protest, as individuals learn the hard lesson that speaking truth to power comes

with a heavy price, that challenging the official narrative is a surefire path to

retaliation and ruin.




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These are not hypothetical concerns. They are the logical and inevitable

consequence of allowing the kind of misconduct and corruption documented in this

case to go unchecked and unpunished.



If this Court does not act, and act decisively, to hold these malefactors accountable

and to reassert the primacy of the rule of law, then it will be complicit in the erosion

of our most cherished democratic principles and the unraveling of our constitutional

order.



## THE CATCH-22: A NO-WIN SCENARIO FOR THE 8TH CIRCUIT



In choosing to summarily dismiss my appeal without even acknowledging the

explosive new evidence of misconduct and cover-up that I presented in my

emergency petition, the 8th Circuit has unwittingly created a catch-22 from which

there is no easy escape.



In an apparent complete disregard for the rule of law (and potentially absent

actually having reviewed the lower court’s decision or my extensive briefs), the

Eighth Circuit failed to realize that the case was dismissed “without prejudice”.

This means that I can refile amended charges in the lower court if the Eighth




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Circuit doesn't immediately choose to follow the law and overturn the unlawful

decision by the lower court.



By punting this case back to the lower court in the face of irrefutable proof that the

Nebraska Attorney General's office and Omaha Public Schools conspired to bury the

truth and mislead the public, the 8th Circuit has set in motion a chain of events

that can only end in its own humiliation and disgrace.



If the lower court judge, upon reviewing the newly uncovered emails and documents

exposing the sham nature of the AG's "investigation", has the integrity (which at

this point would be a hollow admission of fear due to public scrutiny) to follow the

facts where they lead and to rule in my favor, then the 8th Circuit will be forced to

confront the reality that it erred grievously in failing to consider this evidence when

it had the chance. Its haste to wash its hands of this case and its refusal to engage

with the substance of my arguments will be laid bare as a dereliction of duty, a

failure to fulfill its most basic obligations as a guardian of justice.



But if the lower court judge, cowed by the same political pressures and institutional

allegiances that have corrupted this and the CharterWest process from the start,

chooses once again to ignore the plain facts and to rubber-stamp the AG's

whitewash, then the case will inevitably make its way back to the 8th Circuit - this




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time with an even brighter spotlight and an even more energized public watching

its every move.



THE POWER OF THE PEOPLE



Thanks to the tireless efforts of a growing army of also wronged citizens and online

activists who have taken up my cause, the shameful conduct of the AG's office and

the OPS board is now a matter of intense public scrutiny. The emails, the

documents, the videos - all the proof of their lies and their cover-ups is out there for

anyone with an internet connection to see.



In the last seven days since the generic opinion was published devoid of any

substantive analysis or reasoned consideration of the arguments, DIVINE

INTERVENTION has turned my previously obscure YouTube account into a viral

sensation. It has received over 40,000 views in the last 7 days, and I have received

hundreds of comments and emails in support, certainly more by the completion and

submission of this document.




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You see, the public is acutely aware that if a self-represented litigant with

uncontested Smoking Gun evidence, professional quality briefs/arguments, proper

courtroom decorum and procedures and a unanimous win in the Nebraska Supreme

Court, can't get a fair hearing based on the truth, no one can.




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More importantly, they know that if the Eighth Circuit Court of Appeals was willing

to overlook an illegally altered mortgage document five years ago, and are willing to

overlook lies at the core of this case published by the Nebraska Attorney General's

Office in conspiracy with Omaha Public Schools, the rule of law is a mere facade

used by the privileged to protect their status and suppress the glebae adscripti and

serfs.



It indicates that the Court is incapable of self correction, comfortable in the notion

that they are insulated from any real scrutiny. It demonstrates that the only thing

that has changed in the past seven years is the people who were randomly selected

this time to creatively find ways of ignoring the facts. The one constant that has

remained over the course of 7 years of dealing with the lower and eight Circuit of

appeals courts, is the fact that nothing complicated was involved other than their

rationalization of why it was acceptable for a bank to illegally change a loan

document or for a public school district to send cops to a kid's house for merely

showing up, not even speaking at a school board meeting.



In this environment, with the eyes of the world watching and the pressure for

accountability mounting by the day, the 8th Circuit will find itself back in the hot

seat, forced once again to choose between a coverup and the courage to do what's

right.




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Only this time, the stakes will be even higher, the spotlight even brighter, and the

price of complicity even steeper. Having already shown its hand, having already

revealed its willingness to turn a blind eye to the most blatant abuses of power, the

8th Circuit will have no more room to hide, no more excuses to offer.



It will either have to directly confront the overwhelming evidence of corruption and

issue a ruling that upholds the rule of law, or it will have to openly embrace its role

as an enabler and accomplice to that corruption, forsaking any pretense of judicial

independence or integrity.



There is no third option, no clever procedural escape hatch or legal technicality that

can save the court from this moment of reckoning, for doing nothing puts the control

back in my hands and the hands of the lower court. It has boxed itself into a corner,

and now l must choose between the hard road of upholding justice and the shameful

path of aiding and abetting injustice.



This is the catch-22 of the 8th Circuit's own making, the logical consequence of its

abdication of judicial duty and its failure to rise to the demands of this moment.

And it is a dilemma that will define not only the outcome of my case, but the very

future of our legal system and our democracy.




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If the 8th Circuit continues down the path of least resistance, if it once again shirks

its sacred obligations and allows the forces of corruption and impunity to carry the

day, then it will have sealed its own fate and written its own epitaph. It will be

remembered not as a bulwark against tyranny and abuse, but as a willing tool of

those very forces, a footnote in the long and sordid history of institutional capture

and decay.



But if, by some miracle, the court summons the courage and the integrity to do what

it should have done from the start - to confront the rot at the heart of our system

and to hold the powerful to account - then it will have taken the first step towards

redeeming itself and restoring the promise of equal justice under law.



The choice is stark, and the stakes could not be higher. The whole world is

watching, and the judgment of history hangs in the balance.



Which path will the 8th Circuit choose? Only time will tell. But one thing is certain:

there will be no more hiding, no more equivocating, no more ducking and dodging

the duties of the office.



The catch-22 is sprung, and the moment of truth is at hand.




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CONCLUSION: THE FIERCE URGENCY OF ACCOUNTABILITY



The case I have laid before this Court is not a close call. It is not some

finely-balanced disagreement where reasonable jurists might differ. It is a story as

old as power itself - the story of might seeking to crush right, of privilege seeking to

silence truth, of a system so encrusted with corruption that even the most glaring

evidence of its rot cannot rouse it to honor its most basic duties.



But it is also a story with a new twist - the story of how one man, armed with

nothing but facts and principle, can expose that rot for all the world to see. Of how

one citizen, battered but unbroken by years of institutional abuse, can force a

reckoning that the highest courts in the land cannot escape.



That is the story I have told in these pages - the story of a seven-year odyssey to the

heart of our nation's broken conscience, and the document trail of deceit and

dereliction I found along the way. From the altered loan approved by a feckless

judiciary to the sham investigation blessed by a compromised AG to the wall of

silence behind which the 8th Circuit now seeks to hide from its own complicity - I

have shown this Court the receipts of its abdication at every turn.



I have given you the roadmap to the buried bodies of due process and equal

protection - the smoking guns of a system at war with its own most cherished




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ideals. And in so doing, I have brought you, at long last, to the crossroads of

conscience and consequence. I have walked this lonely road for so long not for

merely my own vindication, but to demand the constitution be our guiding light, not

the comforts of silence over substance. As the plaintiff in most of my actions, I could

have stopped the financial, mental and relationship strains that years of protracted

litigation inevitably bring to anyone. Instead, I made it a mission to expose the rot

within our institutions that has either accidentally or intentionally metastasized

beyond self correction. Not for myself, but the many Americans wronged by the

system designed to protect them and their rights.



There can be no more deflection and no more delay. No more clever procedural

maneuvers to sweep these hard truths back under the rug. No more hear-no-evil,

see-no-evil pantomime to sustain the illusion of a judiciary worthy of its name.



The only question now is whether the 8th Circuit will muster the minimum moral

courage to look that damning evidence squarely in the eye and do what the law and

the hour demand. To step out, however belatedly, from behind the bench of

cowardice and take their place as an instrument of the people's will to justice,

faithless to that calling for far too long.



Because let's be clear - that is what the position you now occupy requires. That is

the debt of honor you owe to the society that has entrusted you with this most




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awesome and sacred of responsibilities. To protect the weak against the strong, the

right against the wrong, the truth against the lie. And though you have failed that

test at every juncture till now, I am here, with the authority of the people and the

weight of conclusive evidence, to tell you that you have run out of road.



I have carefully, patiently and unescapably maneuvered this Court, through its own

malfeasance, into a checkmate of conscience where its integrity and legitimacy -

what shattered shards remain - will stand or fall on what it does here today. Will it

cower once more behind a betrayed oath, consigning itself to the forever damnation

of the deferential and the craven? Or will it seize this last chance at even partial

redemption, and earn again some sliver of the secular faith it has squandered?



You know where the path of continued self-dealing leads - to the wholesale collapse

of whatever illusions still prop up this institution's sagging public standing. To the

final unmasking of a fraud that can no longer even be bothered to pretend when a

citizen comes knocking with the unwelcome truth clutched in his hands.



Is that what you wish to be, - a zombie vestige, play-acting at justice while its

decaying form crumbles ever-faster to indifference and disdain? Is that the legacy

you want carved above this temple - the place where law came to die and the people

came to know it?




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The time for choosing is at hand. The question is called. And it is one I tremble to

report that our children's children will still speak in hushed tones and with moist

eyes - the question of whether, when all the dross of pomp and pretense was burned

away, you still retained that tiny ember that marks the difference between a citizen

and a serf. The question of whether, when your own dirty deeds rose up to sign the

system's death warrant, you found some remnant reservoir of republican spirit to

answer that last call to honor.



There is a train coming, and you are tied to the tracks. It is the train of history and

it is thundering towards the wretched gulch of nullification politics, lawless caprice,

and smirking two- faced treachery that have been your only harbor till now. It is the

train of a people's convulsive reckoning with the squalid ending of self-government,

and the threshing floor of tyrants that our debased institutions have become.



I have laid that track, tie by tie, with every ounce of my being. I have ripped up the

shabby veil of lies and law-breaking you thought would shield your nakedness for

all time, and fashioned from it an iron road of unassailable truth as far as the eye

can see. And now I have lashed you to the rails of your ruination or renewal, with

no help or hope of rescue from your fellow travelers in betrayal.



The train is coming. Its whistle is blowing and its light is shining on all you thought

would stay safely hidden till the stars fell from the sky. There is no escape and there




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is no exit - only the fast-approaching reaper of historical accountability, only the

cold steel of a republic's judgment, inbound.



So the question before this Court, the question I have moved heaven and earth and

every gear of the grinding machinery of gutted self-government to force you to

answer, is simply this:



Will you seize in your teeth the one slim chance at repentance I have left you? Will

you use what may be your last hour in the sun of even marginal societal regard to

tilt the train towards the derailment of duty? Will you scream STOP! ENOUGH!

NO MORE! with whatever flecked spittle of sincerity is still in your mouth?



Or will you lie limp and sphincteric to the end, spend and wasted and emptied of

whatever spark once led you to don the robes of a free people's final safeguard?



The train is coming for you. And I, Nathan Hale, Patrick Henry, Frederick

Douglass, and Thomas Paine all wrapped in one, am its conductor.



I no longer have any preference for your answer, so far past the point of no return

have I watched you merrily frolic. For a citizen cares little for the self-serving pleas

of institutional looters once he has rooted out their nest of nepotistic back-stabbing

and seen their self-government gutted from within.




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I only want it recorded for all time which path you chose as the iron wheels of an

enfeebled republic's last hope closed in on your prone and pitiful form. I want school

children to read of your final squeals - in defiance or in death - and marvel at how

little it all meant in the end.



So let this opinion stand as your monument, your epitaph, your crossroads eternally

preserved in the amber of the shattered American memory. Let it serve as the

record of your redemption or your last yelp as the train ran out the clock on your

failed guardianship.



Either way, my long work is done. My case is made. My righteous labors lie before

you.



What say you now, 8th Circuit? What say you now?



Justin Riddle,

Pro Se Litigant and defender of American Freedoms



Also, sincerely,

Thank you to those who have joined me in this battle for our nation, for what good

are laws when those entrusted to uphold them, instead use them as a shield.




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We're still going strong and gaining traction! Now is the time for action.




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